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   10
                             UNITED STATES DISTRICT COURT
   11
               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13
      PARAMOUNT PICTURES                           Case No. 2:19-cv-01156-DMG-PJWx
   14 CORPORATION; COLUMBIA
      PICTURES INDUSTRIES, INC.;
   15 DISNEY ENTERPRISES, INC.;                    PLAINTIFFS’ MEMORANDUM IN
      TWENTIETH CENTURY FOX FILM                   OPPOSITION TO DEFENDANTS’
   16 CORPORATION; WARNER BROS.                    MOTION TO SEVER, FOR A
      ENTERTAINMENT INC.;                          MORE DEFINITE STATEMENT,
   17 UNIVERSAL CITY STUDIOS                       AND TO STRIKE
      PRODUCTIONS LLLP; UNIVERSAL
   18 TELEVISION LLC; and UNIVERSAL                Judge: Hon. Dolly M. Gee
      CONTENT PRODUCTIONS LLC,                     Courtroom: 8C
   19                                              Date: May 24, 2019
                Plaintiffs,                        Time: 9:30 am
   20
           vs.                                     Filed concurrently:
   21                                              (1) Declaration of Glenn D. Pomerantz
      OMNIVERSE ONE WORLD                          (2) Plaintiffs’ Request for Judicial
   22 TELEVISION, INC.; JASON M.                   Notice
      DEMEO,
   23
                Defendants.
   24
   25
   26
   27
   28
                                                                         Case No. 2:19-cv-01156
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    1                                    INTRODUCTION
    2         Plaintiffs are studios responsible for numerous popular and acclaimed films
    3 and television shows, such as Star Trek, The Karate Kid, Zootopia, Gravity, The
    4 Danish Girl, and Modern Family, to which Plaintiffs hold the copyrights. (Compl.
    5 ¶¶ 6–14, 22–26; Ex. A.) Many of Plaintiffs’ works air on live television every day,
    6 which constitute public performances of the works under the Copyright Act. See 17
    7 U.S.C. § 106(4). Plaintiffs license their exclusive right to publicly perform these
    8 works to television broadcasters and online streaming companies such as Amazon
    9 Prime and YouTube TV. (Compl. ¶ 2.)
   10         Defendants Omniverse One World Television, Inc. and its CEO Jason DeMeo
   11 (collectively, “Omniverse”) are directly infringing on Plaintiffs’ exclusive rights to
   12 publicly perform their copyrighted works. Omniverse illegally streams live
   13 television programming—including Plaintiffs’ works—over the internet through
   14 dozens of downstream services to thousands of end users, all without a license to do
   15 so from Plaintiffs. (Compl. ¶ 27.) Omniverse also induces downstream services to
   16 join this infringing television streaming marketplace and materially contributes to
   17 their direct infringement by providing these services with access to infringing
   18 content. (Compl. ¶¶ 29–30, 34–37, 57, 72–79, 84–91.) All of this misconduct is
   19 detailed in a 23-page complaint, complete with screenshots of infringement in
   20 action, filed by Plaintiffs to end Omniverse’s wrongdoing.
   21         Omniverse’s meritless motion seeks to put off that end while Omniverse
   22 continues to illegally stream Plaintiffs’ copyrighted content. As Omniverse knows
   23 quite well—and as is clear from the face of Plaintiffs’ complaint—Plaintiffs have
   24 not authorized Omniverse to transmit streams of their copyrighted content to
   25 downstream services and end users. Instead of answering and confronting the
   26 allegations of Plaintiffs’ complaint, Omniverse moves (1) to compel a more definite
   27 statement of the complaint, (2) to strike purportedly “scandalous” and “immaterial”
   28 allegations from the complaint, and (3) to sever seven of the eight Plaintiffs

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    1 involved in this action. No authority supports any of these claims for relief, and
    2 courts have repeatedly warned that such motions must be viewed with skepticism
    3 because they are often brought for the purpose of delay.
    4         Omniverse’s motion fails first and foremost because it rests on allegations
    5 that are unsupported by any declaration or other evidence and are outside of (and
    6 contrary to) the complaint. At this stage of litigation, the complaint must be taken
    7 as true, and at no stage of litigation may a party demand relief based on disputed
    8 facts without supporting its factual assertions with evidence. Separately, the request
    9 for a more definite statement fails because the complaint sufficiently puts
   10 Omniverse on notice of Plaintiffs’ copyright infringement claims. The request to
   11 strike fails because the “Dragon Box” allegations that Omniverse seeks to strike are
   12 neither scandalous nor immaterial: Dragon Box was Omniverse’s business partner
   13 and has previously identified Omniverse as a provider of its infringing content. And
   14 the request to sever fails because Plaintiffs have properly joined in one suit to allege
   15 their substantially identical claims, and Omniverse has not identified any prejudice
   16 from this joinder. The Court should deny Omniverse’s motion.
   17                             STATEMENT OF THE CASE
   18         A.    Factual Allegations of the Complaint
   19         Plaintiffs’ complaint clearly alleges that Omniverse “transmit[s] streams of
   20 unauthorized movies and television programs—including [Plaintiffs’] Copyrighted
   21 Works—to numerous downstream services,” which in turn “provide unauthorized
   22 streaming content direct to end consumers.” (Compl. ¶ 27.) Omniverse also
   23 previously had its own direct-to-consumer live television streaming service via the
   24 “OmniBox.” (Compl. ¶¶ 54–55.) All of this conduct is unauthorized because
   25 “Plaintiffs have not granted licenses that permit Defendant DeMeo or Omniverse to
   26 stream the Copyrighted Works.” (Compl. ¶¶ 26, 32.)
   27         Plaintiffs have alleged that Omniverse’s unauthorized streaming directly
   28 violates Plaintiffs’ exclusive rights to publicly perform their copyrighted works.

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    1 (Compl. ¶¶ 27, 64–67.) Further, Omniverse induces direct-to-consumer streaming
    2 services to enter the infringing streaming marketplace and materially contributes to
    3 their direct infringement by providing them with content streams. (Compl. ¶¶ 29–
    4 30, 34–37, 57, 72–79, 84–91.) These Omniverse-powered downstream services
    5 stream that infringing content—live television programming on channels owned by
    6 Plaintiffs and their affiliates, and on other channels that air Plaintiffs’ copyrighted
    7 works—to customers. (See, e.g., Compl. ¶¶ 39, 46, 50.)
    8         B.    Omniverse’s Contrary Factual Assertions Are Improper
    9         At this stage of the litigation, the allegations of the complaint must be taken
   10 as true, and the forms of relief that Omniverse is seeking must be assessed on the
   11 four corners of the complaint and relevant judicially noticeable materials. See, e.g.,
   12 Coughlin v. Rogers, 130 F.3d 1348, 1350–51 (9th Cir. 1997) (motion to sever);
   13 S.E.C. v. Sands, 902 F. Supp. 1149, 1165 (C.D. Cal. 1995) (motion to strike);
   14 Cellars v. Pac. Coast Packaging, Inc., 189 F.R.D. 575, 578 (N.D. Cal. 1999)
   15 (motion for a more definite statement).
   16         Omniverse’s motion upends this basic hornbook rule, for the motion rests
   17 almost entirely on Omniverse’s claims that (1) a freewheeling, undisclosed, “long-
   18 standing” contract between DirecTV and an entity called Hovsat, Inc. somehow
   19 authorizes the streaming of Plaintiffs’ works with “no limitations with regard to
   20 geographic markets, nor innovating with regard to delivery method” (Mot. at 1), and
   21 (2) Omniverse operates merely as “a marketing partner of” Hovsat (Mot. at 9). Both
   22 of these claims directly contradict allegations in the complaint. (See, e.g., Compl.
   23 ¶¶ 27–37, 53–63.) Thus, they cannot, as a matter of law, be a basis for granting the
   24 relief Omniverse seeks.
   25         But what Omniverse is doing actually goes well beyond merely contradicting
   26 the complaint. The allegations on which Omniverse’s motion rests are based on
   27 zero supporting materials, let alone materials that could be judicially noticed. The
   28 first two paragraphs of the motion’s “Statement of Facts” are devoid of a single

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    1 citation. (Mot. at 1.) The motion does not attach the purported licensing agreement
    2 between DirecTV and Hovsat or supporting documentation for other factual
    3 assertions. To be clear, attaching such evidence would itself have been improper
    4 because, at this stage of the litigation and given the relief Omniverse seeks, the
    5 complaint’s allegations must be taken as true. (See supra p. 3.) And regardless, as
    6 explained below, the motion has no legal merits in addition to having no factual
    7 merits. Nevertheless, the absence of evidence to support the factual allegations on
    8 which Omniverse’s motion rests serves to underscore the motion’s impropriety. 1
    9        Not only has Omniverse failed to support its complaint-contradicting
   10 “Statement of Facts” with evidence, it is interfering with the gathering of such
   11 evidence. After filing the complaint, Plaintiffs requested that Omniverse provide
   12 specific evidence related to this case, including evidence showing any purported
   13 license that authorized Omniverse to stream Plaintiffs’ copyrighted works.
   14 (Pomerantz Decl. ¶ 2.) After delaying responding to Plaintiffs’ requests for several
   15 weeks, Omniverse failed to provide any license that would allow it to stream
   16 Plaintiffs’ copyrighted works. (Id.) And after the Court allowed the parties to serve
   17 stipulated early subpoenas on DirecTV and Hovsat, Omniverse has refused to
   18 provide Plaintiffs with the contact information for Hovsat’s attorney, despite the fact
   19 that Omniverse’s counsel had told Plaintiffs that he had been in contact with that
   20 attorney. (Id. ¶¶ 3–4.) Instead, Omniverse told Plaintiffs to directly contact
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         Plaintiffs’ criticism of Omniverse’s reliance on unsupported factual assertions in
   26 its motion is not an invitation for Omniverse to sandbag Plaintiffs by attaching new,
   27 contested evidence to its reply. Plaintiffs object to the introduction of any new
      evidence on reply. The motion must be based only on the four corners of the
   28 pleadings. (See supra p. 3.)

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    1 Hovsat’s purported owner, Shant Hovnanian, who, according to Omniverse, is now
    2 in Armenia. 2 (Id. ¶ 4.)
    3        Thus, it is not merely that Omniverse is trying to derail this litigation with
    4 factual assertions contrary to the complaint and unsupported by evidence.
    5 Omniverse also is making clear that it has no desire for the actual facts about the
    6 purported DirecTV-Hovsat contract to come to light. That is unsurprising because
    7 DirecTV, which has complied with the Court’s subpoena, has no evidence of any
    8 contract resembling what Omniverse describes. (Id. ¶ 3.)
    9        The Court need not, and indeed cannot, consider Omniverse’s bare assertions
   10 about its supposed relationship with Hovsat and Hovsat’s supposed relationship with
   11 DirecTV. Hovsat and DirecTV are irrelevant to a motion challenging the complaint,
   12 which makes no mention of Hovsat at all. Regardless, whether considering
   13 Omniverse’s improper factual assertions or not, Omniverse’s motion fails on the
   14 legal merits, as set forth below.
   15                                      ARGUMENT
   16        A.     Omniverse’s Request for a More Definite Pleading Should Be
                    Denied Because the Complaint Intelligibly and Sufficiently States
   17               Plaintiffs’ Copyright Infringement Claims
   18        Omniverse’s motion asks the Court for a more definite statement under
   19 Federal Rule of Civil Procedure 12(e), claiming that it cannot frame a responsive
   20 pleading because it is not clear on whether “Plaintiffs are alleging Omniverse
   21 pirated the properties in question, or Omniverse’s marketing activities have merely
   22 exceeded the scope [of] Hovsat’s licensed rights, or both.” (Mot. at 6.)
   23 Omniverse’s contention is meritless.
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   27   Hovnanian currently faces United States federal civil tax enforcement proceedings
      involving over $16 million in penalties, and the United States Government has not
   28 been able to serve him in that case. (Pomerantz Decl. ¶ 4.)

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    1                1.    Legal Standard for Motion for More Definite Statement
    2         Under Federal Rule of Civil Procedure 12(e), “[a] party may move for a more
    3 definite statement of a pleading … which is so vague or ambiguous that the party
    4 cannot reasonably prepare a response. The motion must be made before filing a
    5 responsive pleading and must point out the defects complained of and the details
    6 desired.” Rule 12(e) motions “are viewed with disfavor and are rarely granted
    7 because of the minimal pleading requirements of the Federal Rules. Parties are
    8 expected to use discovery, not the pleadings, to learn the specifics of the claims
    9 being asserted.” Sagan v. Apple Computer, Inc., 874 F. Supp. 1072, 1077 (C.D. Cal.
   10 1994) (citation omitted). They can be used only “to attack unintelligibility, not mere
   11 lack of detail, and a complaint is sufficient if it is specific enough to apprise the
   12 defendant of the substance of the claim asserted against him or her.” San
   13 Bernardino Pub. Emps. Ass’n v. Stout, 946 F. Supp. 790, 804 (C.D. Cal. 1996)
   14 (emphasis added). “Thus, a motion for a more definite statement should not be
   15 granted unless the defendant literally cannot frame a responsive pleading.”
   16 Bureerong v. Uvawas, 922 F. Supp. 1450, 1461 (C.D. Cal. 1996).
   17         Further, the motion “must be considered in light of the liberal pleading
   18 standards of Rule 8(a) (a Complaint need only be a ‘short and plain statement of the
   19 claim showing that the pleader is entitled to relief[.]’).” Id. at 1462. It is “improper
   20 when the ‘defects complained of and the details desired’ relate solely to affirmative
   21 defenses” because “affirmative defenses must be pleaded in the answer, not the
   22 complaint.” WB Music Corp. v. Futuretoday, Inc., No. 2:18-CV-01238-CAS-
   23 FFMx, 2018 WL 4156589, at *3 (C.D. Cal. Aug. 28, 2018) (citations omitted).
   24                2.    Omniverse’s Request for a More Definite Statement Fails
                           Because It Raises Only Unsupported Allegations That Are
   25                      Not in the Complaint and Do Not Show that the Pleading is
                           Unintelligible
   26
   27         Plaintiffs’ complaint contains sufficient allegations to satisfy the limited
   28 pleading requirements of Rule 8(a) and put Omniverse on notice of Plaintiffs’

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    1 claims. See San Bernardino Pub. Emps. Ass’n, 946 F. Supp. at 804. Plaintiffs have
    2 brought three causes of action: direct copyright infringement; inducement; and
    3 material contribution to copyright infringement. (Compl. ¶¶ 64–94.) Each is
    4 intelligibly and sufficiently stated in the complaint.
    5         The complaint alleges the necessary elements for a direct copyright
    6 infringement action: (1) Plaintiffs’ ownership of copyrighted works and (2)
    7 Omniverse’s infringement of Plaintiffs’ exclusive right to publicly perform those
    8 works by transmitting streams of Plaintiffs’ copyrighted works airing on live
    9 television to the public through downstream internet streaming services. (E.g.,
   10 Compl. ¶¶ 14, 26–27, 29, 32, 53, 55; Ex. A.) That is all Plaintiffs are required to
   11 plead to put Omniverse on notice of their direct copyright infringement claims. See,
   12 e.g., Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 433 (1984)
   13 (“Anyone who violates any of the exclusive rights of the copyright owner, that is,
   14 anyone who trespasses into his exclusive domain by using or authorizing the use of
   15 the copyrighted work in one of the five ways set forth in the statute, is an infringer
   16 of the copyright.” (internal quotation marks and citation omitted)).
   17         Plaintiffs also have alleged that Omniverse induces others to enter the illegal
   18 streaming market and materially contributes to their direct infringement by
   19 providing downstream services with access to this infringing content. (E.g., Compl.
   20 ¶¶ 53, 57.) Again, these allegations are sufficient to put Omniverse on notice of
   21 Plaintiffs’ secondary liability claims. See Perfect 10, Inc. v. Visa Int’l Serv. Ass’n,
   22 494 F.3d 788, 795 (9th Cir. 2007).
   23         Omniverse does not identify unintelligibility in Plaintiffs’ complaint, and its
   24 motion demonstrates that Omniverse knows exactly what this case is about: direct
   25 and secondary copyright infringement claims. (Mot. at 2.) At most, Omniverse
   26 seeks details about its own streaming operations. For example, Omniverse asserts
   27 that “Plaintiffs’ Complaint does not allege Omniverse [is] streaming, linking, or
   28 otherwise providing pirated copyrighted properties,” and “Plaintiffs are accusing

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    1 Omniverse of piracy without stating facts alleging how Omniverse committed
    2 piracy.” (Mot. at 4, 9.) But Plaintiffs allege throughout the complaint that
    3 Omniverse’s streaming constitutes infringement because Omniverse lacks
    4 authorization to stream Plaintiffs’ copyrighted works. (E.g., Compl. ¶¶ 1, 4, 18, 27–
    5 30, 54–57, 64–71, 77, 88.) If by “piracy” Omniverse means copyright infringement,
    6 then that is amply pleaded. (See Compl. ¶¶ 64–94.) The technical details of
    7 Omniverse’s illegal streaming operations will be established through discovery, as is
    8 proper under the Federal Rules. See Sagan, 874 F. Supp. at 1077. Requiring
    9 Plaintiffs to plead such details in the complaint would upend the federal notice-
   10 pleading system.
   11         Rather than identifying fatal unintelligibility within the complaint, Omniverse
   12 seeks to introduce unsupported allegations regarding a third party, “Hovsat,” that are
   13 outside the complaint. (E.g., Mot at 1, 6.) The complaint contains no allegations
   14 whatsoever regarding Hovsat or indicating that Omniverse is a “marketer,” much
   15 less that “Omniverse does not have the authorization to market Hovsat’s licensed
   16 content.” (Mot. at 1, 6.) Omniverse cannot show the complaint to be
   17 “unintelligible” based on allegations that are not in the complaint. See Cellars, 189
   18 F.R.D. at 578 (“[T]he proper test in evaluating a motion under Rule 12(e) is whether
   19 the complaint provides the defendant with a sufficient basis to frame his responsive
   20 pleadings.” (emphasis added) (citation omitted)). Omniverse’s arguments are
   21 relevant, if at all, to an affirmative defense, which has nothing to do with the
   22 intelligibility of Plaintiffs’ complaint. See WB Music Corp., 2018 WL 4156589, at
   23 *3; Worldwide Church of God v. Phila. Church of God, Inc., 227 F.3d 1110, 1114
   24 (9th Cir. 2000) (noting that a license is an affirmative defense to a copyright
   25 infringement claim). Therefore, the Court should deny Omniverse’s request for a
   26 more definite statement.
   27
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    1         B.    The Complaint’s References to Dragon Box May Not be Stricken
                    Because They Are Neither “Scandalous” nor “Immaterial”
    2
    3         Omniverse’s motion also seeks to strike five references to Dragon Box in the
    4 complaint as “scandalous” and “immaterial.” (Mot. at 8–9 (citing Compl. ¶¶ 1, 1
    5 n.1, 3, 30, 37).) Omniverse claims that the five references are “immaterial and cast
    6 a derogatory light on Omniverse and prejudice Omniverse in further proceedings”
    7 because Dragon Box is “a known pirate of copyrighted broadcast content.” (Mot. at
    8 2, 9.) This claim is frivolous, given that, among other things, Omniverse does not
    9 challenge the complaint’s allegation that “Defendants d[id] business with … Dragon
   10 Box … and together provide[d] unauthorized streams of the Copyrighted Works.”
   11 (Compl. ¶ 18.)
   12               1.     Legal Standard for Motion to Strike
   13         Federal Rule of Civil Procedure 12(f) provides that “[t]he court may strike
   14 from a pleading an insufficient defense or any redundant, immaterial, impertinent, or
   15 scandalous matter.” Just as with the motion’s 12(e) request for a more definite
   16 statement, “Rule 12(f) motions are generally ‘disfavored’ because they are ‘often
   17 used as delaying tactics, and because of the limited importance of pleadings in
   18 federal practice.’” Bureerong, 922 F. Supp. at 1478 (citation omitted). And, also
   19 like the motion’s 12(e) request, “[t]he grounds for the motion [to strike] must appear
   20 on the face of the pleading under attack or from matter which the court may
   21 judicially notice.” Sands, 902 F. Supp. at 1165.
   22         Allegations are “immaterial” only if “it is clear that the matter to be stricken
   23 can have no possible bearing on the subject matter of the litigation.” San
   24 Bernardino Pub. Emps. Ass’n, 946 F. Supp. at 803 (emphasis added). And
   25 allegations can be deemed “scandalous” only if they “cast a ‘cruelly’ derogatory
   26 light on a party or other person.” Id. Further, “‘[g]iven their disfavored status,
   27 courts often require “a showing of prejudice by the moving party” before granting
   28

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    1 the requested relief.’” Mag Instrument, Inc. v. JS Prod., Inc., 595 F. Supp. 2d 1102,
    2 1106 (C.D. Cal. 2008) (citations omitted).
    3         Courts apply these standards stringently. For instance, in Holmes v.
    4 Electronic Document Processing, Inc., the plaintiff’s complaint accused the
    5 defendants—a legal service company—of providing “sewer service.” 966 F. Supp.
    6 2d 925, 928–29 (N.D. Cal. 2013). The defendants moved to strike the term “sewer
    7 service” as scandalous and immaterial. Id. at 938. The court denied that motion,
    8 holding that such references did “not rise to the level of casting Defendants in a
    9 ‘cruelly derogatory light’ and thus were not ‘scandalous.’” Id. Nor were the
   10 references “immaterial”; improper business practices could be relevant to the
   11 defendants’ liability. Id. The court also found that the defendants had failed to
   12 establish any prejudice arising from the disparaging language. Id.
   13               2.     Accurately Noting that Omniverse Was in Business with
                           Dragon Box Is Neither Immaterial nor Scandalous
   14
   15         Omniverse argues that the complaint’s references to and comparisons
   16 between it and Dragon Box are immaterial “because Dragon Box is a hardware
   17 device utilizing software to search and link pirated content and Omniverse is a
   18 marketing partner of a cable company.” (Mot. at 9.) Omniverse also argues that the
   19 comparisons are scandalous “because comparing the two unlike entities damages
   20 Omniverse through guilt by (misplaced) association.” (Id.) However, Omniverse
   21 has failed to show that the complaint’s references are immaterial or scandalous.
   22 None of the challenged allegations in the complaint cast Omniverse in a “cruelly
   23 derogatory light,” and all are relevant to Plaintiffs’ copyright infringement causes of
   24 action. See Holmes, 966 F. Supp. 2d at 938.
   25         To begin with, there is no misplaced association here: The complaint alleges
   26 that Omniverse did business with Dragon Box, a fact that Omniverse does not
   27 dispute. Tellingly, Omniverse does not seek to strike paragraph 18 of the complaint,
   28 which states that “Defendants do business with California-based companies, such as

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    1 Dragon Box . . . , and together provide unauthorized streams of the Copyrighted
    2 Works to California residents.” (Compl. ¶ 18.) The complaint’s other five
    3 references to Dragon Box, which Omniverse does seek to strike, all relate to this
    4 undisputed business relationship. (See Compl. ¶¶ 1, 1 n.1, 3, 30, 37.)
    5        It is wrong to suggest that references to this conceded business relationship
    6 and comparisons of these business partners are somehow “cruelly derogatory” to
    7 Omniverse. Plaintiffs have used no charged language to refer to Omniverse’s
    8 business operations. It is Omniverse, not Plaintiffs, who refer to Dragon Box as a
    9 known “pirate” and characterize Dragon Box’s applications as “known Dragon Box
   10 pirating apps.” (Mot. at 2, 8–9.) The complaint does not use the terms “pirate” or
   11 “piracy” at all, and instead uses legally relevant terms to describe Omniverse’s and
   12 Dragon Box’s copyright infringement. (See Compl. ¶¶ 1, 27-32; see also Trojan
   13 Decl. ¶ 3, Ex. B (Judgment and Permanent Injunction, Netflix Studios, LLC v.
   14 Dragon Media Inc., 2:18-cv-00230-MWF-AS, ECF No. 59 (C.D. Cal. Jan. 29,
   15 2019) (consent judgment adjudicating Dragon Box as having engaged in copyright
   16 infringement)).)
   17        Furthermore, Omniverse’s arguments mischaracterize the complaint.
   18 Omniverse claims that, “[i]n Paragraph 1 of Plaintiffs’ Complaint, Plaintiffs allege
   19 Omniverse is ‘an infringing, consumer-facing service, akin to Dragon Box.’” (Mot.
   20 at 9; see also Mot. at 6.) In fact, Omniverse has cropped out key context. Paragraph
   21 1 actually states: “Defendants are not, however, just an infringing, consumer-facing
   22 service, akin to Dragon Box. Defendants operate at a higher level in the supply
   23 chain of infringing content—recruiting numerous downstream services like Dragon
   24 Box into the illicit market and providing them with access to unauthorized streams
   25 of copyrighted content.” (Compl. ¶ 1 (emphasis added) (footnote omitted).)
   26 Plaintiffs do not allege that the two are the same. Omniverse sits above Dragon Box
   27 in the technical scheme of infringing content distribution.
   28

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    1         Nor do the complaint’s allegations have “no possible bearing” on the subject
    2 matter of this litigation. Indeed, the allegations are directly relevant to Plaintiffs’
    3 claims of copyright infringement. Omniverse now concedes that they were in the
    4 streaming business with “a known pirate of copyrighted broadcast content”; that
    5 certainly is relevant to Omniverse’s liability, and state of mind for damages. (Mot.
    6 at 2.) Further, since Dragon Box pointed to Omniverse as the source of this “known
    7 pirated content” in a publicly filed declaration sworn under penalty of perjury, such
    8 allegations in the complaint have “bearing on the subject matter of the litigation,”
    9 namely, Omniverse’s liability for providing infringing content. See San Bernardino
   10 Pub. Emps. Ass’n, 946 F. Supp. at 803 (holding that “a motion to strike should not
   11 be granted unless it is clear that the matter to be stricken can have no possible
   12 bearing on the subject matter of the litigation”); see also Pomerantz Decl. ¶ 6, Ex. 1
   13 (Christoforo Decl., Netflix Studios, LLC v. Dragon Media Inc., 2:18-cv-00230-
   14 MWF-AS, ECF No. 49-2, at ¶¶ 3–4 (C.D. Cal. Dec. 27, 2018) (quoted in Compl.
   15 ¶ 30)). Omniverse also says the applications that Dragon Box used to provide
   16 customers with live television programming are “known Dragon Box pirating apps.”
   17 (Mot. at 9.) References to these “known pirating” applications in the complaint are
   18 relevant to Omniverse’s liability and potential damages because Omniverse was
   19 identified as the source of those applications’ infringing content in Dragon Box’s
   20 declaration. (See Christoforo Decl., supra; Compl. ¶¶ 3, 30, 37.)
   21         Omniverse also argues that because the technology involved in Dragon Box’s
   22 and Omniverse’s operations is different, the complaint’s references to Dragon Box
   23 are immaterial. (Mot. at 9.) This rests on the same false premise that the complaint
   24 equates Omniverse and Dragon Box. But even if an apples-to-apples comparison
   25 were required, and Omniverse cited no legal support for such a notion, the
   26 complaint also alleges that Omniverse previously offered the “OmniBox” hardware
   27 device with a direct-to-consumer television streaming service, similar to Dragon
   28 Box. (See Compl. ¶¶ 54–55.) This point of similarity with Dragon Box is relevant

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    1 to demonstrate that Omniverse is “well aware of how these downstream services
    2 work and know[s] the end result of [its] offering is the unauthorized and infringing
    3 streaming and copying of the Copyrighted Works.” (Compl. ¶ 55.)
    4         Moreover, Omniverse has not established any prejudice. Given “the limited
    5 importance of pleadings in federal practice,” this request appears to be no more than
    6 a “delaying tactic[].” See Bureerong, 922 F. Supp. at 1478. It should be denied.
    7         C.     Plaintiffs Are Properly Joined Because They All Allege the Same
                     “Series of Transactions or Occurrences” of Infringement from
    8                Omniverse Providing Unauthorized Streams of Live Television
                     Content—Including Plaintiffs’ Copyrighted Works—to the Public
    9
   10         Lastly, Omniverse’s motion seeks to sever Plaintiffs into eight separate
   11 lawsuits, arguing that Plaintiffs are improperly joined because Plaintiffs have failed
   12 “to state facts that arise from a common transaction, occurrence, or series of
   13 transactions [or occurrences].” (Mot. at 4.) Omniverse premises this argument on
   14 its claim that the complaint does not state facts “alleging how Omniverse committed
   15 piracy.” (Id.) Omniverse asserts—without any citation—that “copyright
   16 infringement necessitates who, what, when, and where to establish facts arising out
   17 of the same transaction, occurrence, or series of transactions [or occurrences]
   18 suffered by all plaintiffs.” (Id.) This request, too, is meritless.
   19                1.     Legal Standard for Permissive Joinder
   20         Joinder of plaintiffs is proper under Federal Rule of Civil Procedure 20 if
   21 “they assert any right to relief jointly, severally, or in the alternative with respect to
   22 or arising out of the same transaction, occurrence, or series of transactions or
   23 occurrences” and “any question of law or fact common to all plaintiffs will arise in
   24 the action.” Fed. R. Civ. P. 20(a)(1)(A)-(B) (emphasis added). Permissive joinder
   25 of parties “is to be construed liberally in order to promote trial convenience and to
   26 expedite the final determination of disputes, thereby preventing multiple lawsuits.”
   27 League to Save Lake Tahoe v. Tahoe Reg’l Planning Agency, 558 F.2d 914, 917 (9th
   28 Cir. 1977). “Under the rules, the impulse is toward entertaining the broadest

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    1 possible scope of action consistent with fairness to the parties; joinder of claims,
    2 parties and remedies is strongly encouraged.” United Mine Workers of Am. v.
    3 Gibbs, 383 U.S. 715, 724 (1966). “Rule 20 is designed to promote judicial
    4 economy, and reduce inconvenience, delay, and added expense.” Coughlin, 130
    5 F.3d at 1351.
    6        Courts apply a three-pronged test to determine whether the “broadest scope of
    7 action” encompasses the joinder. “The first prong, the ‘same transaction’
    8 requirement, refers to similarity in the factual background of a claim.” Id. at 1350.
    9 Claims can “arise out of a systematic pattern of events and, therefore, arise from the
   10 same transaction or occurrence.” Id. For the second prong, when each plaintiff’s
   11 claim involves “different legal issues, standards, and procedures” that require
   12 “personalized attention,” there is no common question of law or fact. Id. at 1351.
   13 Finally, “a district court must examine whether permissive joinder would ‘comport
   14 with the principles of fundamental fairness’ or would result in prejudice to either
   15 side.” Coleman v. Quaker Oats Co., 232 F.3d 1271, 1296 (9th Cir. 2000).
   16               2.     Joinder of Plaintiffs Is Proper Here to Challenge a
                           “Systematic Pattern” of Infringement Caused by
   17                      Omniverse’s Business Operations, and Omniverse Suffers No
                           Prejudice Thereby
   18
   19        Omniverse’s request to sever fails to demonstrate that Plaintiffs are
   20 improperly joined or that Omniverse is prejudiced by the joinder. The relief sought
   21 would create “inconvenience, delay, and added expense,” not eliminate it.
   22        First, Plaintiffs have alleged that their claims arise out of the “same series of
   23 transactions or occurrences,” namely Omniverse’s “systematic pattern” of copyright
   24 infringement caused by their unauthorized online streaming business. See Coughlin,
   25 130 F.3d at 1350. Many other mass infringement cases involving multiple
   26
   27
   28

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    1 plaintiffs, such as Grokster, Aereo, Napster, FilmOn, and more, 3 have been brought
    2 to judgment based on similar allegations. Plaintiffs’ claims are all based on
    3 Omniverse transmitting public performances of their copyrighted content to the
    4 public without authorization by streaming live television content over the internet to
    5 consumers through downstream services. (Compl. ¶¶ 27–63.) These allegations are
    6 sufficient to state copyright infringement claims. And while the line-up of
    7 Plaintiffs’ copyrighted works playing on live television at any given time changes,
    8 the facts involved in Omniverse’s unauthorized streaming of that television content
    9 remain the same. This systematic pattern of infringement is constant as to all
   10 Plaintiffs, regardless of what works are at issue; the individual copyrighted works
   11 identified in Exhibit A to the complaint were merely exemplary. (See Compl. ¶ 14;
   12 Ex. A.) Thus, Plaintiffs have alleged “similarity in the factual background” of their
   13 claims because the operation of Omniverse’s business is a “systematic pattern of
   14 events” resulting in a related series of infringement. See Coughlin, 130 F.3d at
   15 1350.
   16         Second, Plaintiffs’ claims also involve common questions of law and fact
   17 under Rule 20. Plaintiffs have alleged the same three legal claims of infringement,
   18 inducement, and material contribution. (Compl. ¶¶ 64–94.) These claims will
   19 involve the same legal and factual questions regarding where Omniverse obtains its
   20 live television programming, how Omniverse’s streaming operation works, and to
   21 whom Omniverse streams. Omniverse’s infringing actions are alleged to be uniform
   22 as to all Plaintiffs, regardless of the copyrighted works at issue. Therefore, no
   23 “personalized attention” would predominate any of the common factual and legal
   24 issues related to Plaintiffs’ claims. See Coughlin, 130 F.3d at 1351.
   25
   26   3
        Am. Broad. Cos. v. Aereo, Inc., 573 U.S. 431 (2014); Metro-Goldwyn-Mayer
   27 Studios Inc. v. Grokster, Ltd., 545 U.S. 913 (2005); Fox Television Stations, Inc. v.
      Aereokiller, LLC (FilmOn), 851 F.3d 1002 (9th Cir. 2017); A&M Records, Inc. v.
   28 Napster, Inc., 239 F.3d 1004 (9th Cir. 2001).

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    1         Omniverse claims that it “would be fundamentally unfair” to have Omniverse
    2 “litigate multiple counts of piracy covering all eight plaintiffs and their respective
    3 properties and unique facts.” (Mot. at 5.) But Omniverse has not identified any
    4 “unique facts” or legal issues that require “personalized attention” in order to
    5 resolve Plaintiffs’ claims. And if the Court were to grant severance, Omniverse
    6 would have to litigate eight separate lawsuits, each with three causes of action for
    7 copyright infringement and secondary liability from eight plaintiffs, all involving
    8 the same evidence of Omniverse’s business model and system of infringement.
    9 That would not be easier for Omniverse; it would be harder. Presumably,
   10 Omniverse hopes that the added inconvenience, delay, and expense caused to
   11 Plaintiffs would deter the suits from going forward, but severance exists to eliminate
   12 such factors, not exacerbate them. Under Rule 20 and the case law interpreting it, it
   13 is most fair and efficient to present Plaintiffs’ substantially identical claims in one
   14 suit. This joinder promotes “judicial economy” and reduces the “inconvenience,
   15 delay, and added expense” inherent in duplicative litigation. See Coughlin, 130 F.3d
   16 at 1351.
   17         Omniverse’s cases do not provide otherwise. For example, On the Cheap
   18 LLC v. Does 1-5011, involved severance of over five thousand Doe defendants who
   19 allegedly had downloaded the same film from Bit Torrent. 280 F.R.D. 500, 501–03
   20 (N.D. Cal. 2011). “[J]oining multiple Doe defendants was improper since
   21 downloading the same file did not mean that each of the defendants were engaged in
   22 the same transaction or occurrence.” Id. at 502–03. Contrary to Omniverse’s
   23 attempted comparison, Plaintiffs’ claims involve Omniverse streaming their
   24 copyrighted works, not “downloading different copyrighted films and television
   25 shows.” (Mot. at 5 (emphasis omitted).) Omniverse also cited Papagiannis v.
   26 Pontikis, where the court severed the plaintiffs because “[a]lthough the allegedly
   27 fraudulent scheme may have been the same as to both victims, face-to-face fraud (as
   28 contrasted for example with a securities prospectus misrepresentation) necessarily

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    1 requires individualized proof.” 108 F.R.D. 177, 178–79 (N.D. Ill. 1985). Unlike the
    2 fraud claims in Papagiannis, Plaintiffs’ copyright infringement claims do not
    3 involve highly particularized questions and individualized proof for each Plaintiff’s
    4 claims. At most, each Plaintiff will establish that it owns copyrighted works and
    5 that Omniverse has transmitted those works to the public through its unauthorized
    6 live television streaming business.
    7        Because Plaintiffs’ claims arise out of the same series of transactions and
    8 occurrences and involve the same questions of fact and law, Plaintiffs are
    9 permissibly joined under Rule 20. Omniverse has not identified any legal reason to
   10 sever, nor has it demonstrated that doing so would avoid undue prejudice or
   11 effectuate the efficiency and convenience policies behind the rule. Therefore, the
   12 Court should deny Omniverse’s request to sever.
   13                                     CONCLUSION
   14        For the foregoing reasons, Plaintiffs respectfully request that the Court deny
   15 all of the requests for relief in Omniverse’s motion. Moreover, given the
   16 widespread recognition that motions such as Omniverse’s are often brought purely
   17 for delay, and given the lack of any merit to Omniverse’s motion here, the Court
   18 should deny the motion promptly and direct Omniverse to answer the complaint.
   19
   20 DATED: May 3, 2019                    MUNGER, TOLLES & OLSON LLP
   21
   22                                       By:        /s/ Glenn D. Pomerantz
   23                                           GLENN D. POMERANTZ
                                            Attorneys for Plaintiffs
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